Case 1:05-cv-01050-.]DT-STA Document 7 Filed 04/18/05 Page 1 of 3 Page|D 1

fl£l)gy

IN THE UNITED sTATEs DISTRICT CoURT cup 3
FoR THE WESTERN DISTRICT oF TENNESSEE ’? lap pa

EAsTERN DIVIsIoN Ca@gm ’ 26

C£, 1 w
W§_L?"‘ 91_'13_’!0¢90£/0

D,/“

DONNIE NEWBLE,
Plaintiff,
VS. No. 05-1050-T/An

COMMISSIONER OF SOCIAL
SECURITY,

Defendant.

\_/\_/\_/\_/\_d\_/\_/\__/\_/\_/

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of a decision of` the Secretary of Health and Hurnan
Services denying Plaintiff’s application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintif`f’s brief in support of this appeal must be filed Within 30 days of the
date of this order.

Defendant’s brief in opposition to this appeal must be filed within 30 days after
service of Plaintiff’s brief.

If` Plaintif`f` Wishes to file a reply brief, such brief must be filed Within 10 days after
service of Defendant’s brief.

Failure of either party to comply with this order will result in appropriate sanctions,
which may include consideration of the case without regard to that party’s brief, or dismissal

of the action.

This document entered on the docket shee§tin cém llance
with Rute 58 andlor 79 (a) FRCP on

Case 1:05-cv-01050-.]DT-STA Document 7 Filed 04/18/05 Page 2 of 3 Page|D 2

OraI argument will be heard in this matter only if requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

b-Q¢M

J ES D. TODD
ITED STATES DISTRICT JUDGE

MLT“§_Q¢~IM

 

 

 

UNITsTisT‘s,r)‘s,ED`EITRICT C URT - wEsTER D"ISRICT oF TNNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CV-01050 was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Joe H. Byrd

BYRD DONAHOE & BYRD
P.O. Box 2764

Jackson, TN 3830]--276

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

